Case 8:22-cv-01596-SDM-JSS Document 1 Filed 07/14/22 Page 1 of 6 PageID 1
Case 8:22-cv-01596-SDM-JSS Document 1 Filed 07/14/22 Page 2 of 6 PageID 2
Case 8:22-cv-01596-SDM-JSS Document 1 Filed 07/14/22 Page 3 of 6 PageID 3
Case 8:22-cv-01596-SDM-JSS Document 1 Filed 07/14/22 Page 4 of 6 PageID 4
Case 8:22-cv-01596-SDM-JSS Document 1 Filed 07/14/22 Page 5 of 6 PageID 5
Case 8:22-cv-01596-SDM-JSS Document 1 Filed 07/14/22 Page 6 of 6 PageID 6
